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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


  UNITED STATES OF AMERICA,

                      Plaintiff,

  v.                                                           Case No. 11-20551

  DR. ADELFO PAMATMAT, M.D. (D-18),

                     Defendant.
                                                 /

                 ORDER SETTING IN PERSON STATUS CONFERENCE

        On July 23, 2015, the court conducted a status conference in this matter to

  determine whether Attorneys Kevin A. Landau and Arthur H. Landau would continue as

  retained counsel for Defendant Adelfo Pamatmat, M.D. After questioning both counsel

  and Defendant, the court determined that representation would continue. While

  acknowledging some communication difficulties and/or misunderstandings, Defendant

  expressed his continued desire to keep his current counsel. Nonetheless, the court is

  now in receipt of two letters, purportedly from Defendant Pamatmat, in which he

  expresses displeasure at their representation. These letters have been sent to defense

  counsel, with copies sent to the Government. While the court does not typically take

  action on letters sent pro se when the defendant is represented by counsel, under the

  particular circumstances of this case, the court will conduct another status conference to

  determine if any action need be taken. Accordingly,

        IT IS ORDERED that counsel, and Defendant, shall appear for a status

  conference on October 9, 2015 at 1:30 p.m., at the Federal Courthouse located at 526
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  Water Street, Port Huron, Michigan 48060. In the meantime, Attorneys Kevin A.

  Landau and Arthur H. Landau remain as counsel of record for Defendant and are

  DIRECTED to meet all of their professional obligations to Defendant. NO DEADLINES

  HAVE BEEN MOVED AS A RESULT OF THIS ORDER.



                                                            s/Robert H. Cleland
                                                           ROBERT H. CLELAND
                                                           UNITED STATES DISTRICT JUDGE

  Dated: September 23, 2015

  I hereby certify that a copy of the foregoing document was mailed to counsel of record
  on this date, September 23, 2015, by electronic and/or ordinary mail.

                                                            s/Lisa Wagner
                                                           Case Manager and Deputy Clerk
                                                           (313) 234-5522




  S:\Cleland\JUDGE'S DESK\C3 ORDERS\11-20551-18.PAMATMAT.Counsel.chd.wpd
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